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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,                               CIVIL ACTION

                       Plaintiff,

       v.                                               No. 1:19-cv-01080 (JDB)

SURESCRIPTS, LLC,

                       Defendant.

                        SECOND AMENDED SCHEDULING ORDER

       Upon consideration of [88] the parties’ Joint Motion for the Extension of Case

Deadlines, and the entire record herein, it is hereby

       ORDERED that [88] the parties’ Joint Motion for the Extension of Case

Deadlines is GRANTED, and it is further

       ORDERED that the case schedule on Page 2 of [79] the November 12, 2020 First

Amended Scheduling Order is AMENDED as follows:




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Event                               First Amended Scheduling New Date
                                    Order Date
Close of Fact Discovery             4/16/2021                4/30/2021
Plaintiff Serves Initial Expert     6/18/2021                7/30/2021
Report(s)
Defendant Serves Expert Report(s)   8/27/2021                     10/29/2021
Plaintiff Serves Rebuttal Expert    9/24/2021                     12/3/2021
Report(s)
Close of Expert Discovery           11/19/2021                    1/24/2022
Summary Judgment Motions Filed      1/21/2022                     3/28/2022
Oppositions to Summary              2/21/2022                     4/25/2022
Judgment Motions Filed
Replies in Support of Summary       3/14/2022                     5/16/2022
Judgment Filed
Submission of Proposed Pretrial     45 Days After the            45 Days After the
Order                               Court’s Order Resolving      Court’s Order
                                    Motions for Summary          Resolving Motions for
                                    Judgment                     Summary Judgment

        SO ORDERED.




                                                                         /s/
                                                                   JOHN D. BATES
Dated: April 13, 2021                                         United States District Judge




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                            ATTORNEYS TO BE NOTIFIED

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